Case 2:10-cv-08888-CJB-JCW Document 79349 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM'

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 aiid 40-27 ) Py 2
Her, , 55

MBL 2179 _ __ SECTION: J JUDGE CARLBARBIER

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Dac. 879] for private economic losses ("B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).
Sa a
Last Name First Name : Middle Name/Maiden _ Suffix
BARR HERBERT A :
Phone Number ” E-Mail Address
_ B34) 347-6734 . cng fADATE@ORTTUNM CO mnt si
Address City / State / Zip
400 Tom Morris Lane Enterprise, AL 36330
a
INDIVIDUAL CLAIM i | BUSINESS CLAIM L]
Employer Name oceacennanancammunnannncraanannccnnannannaas an <1 | ass caany
NE
Job Title / Description Type of Business
Address a Address sts
. city / state} io csvset ete ott neve vests city ' tate) zip co
Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number
7170
a
Attorney Name Firm Name
JEFF FRIEDMAN —) FRIEDMANLEAK
Address : City / State / Zip
3800 CORPORATE WOODS DRIVE a BIRMINGHAM, AL 35242000
Phone Number E-Mail Address
(205) 278-7000 jfiedman@friedmanleak.com /mconn@friedmanleak.com
ee TTT TT ee
Claim filed with BP? Yes NO fl Claim Filed with GCCF?; YES [iil NO [4
lf yes, BP Claim No.: if yes, Claimant identification No.:
Cialm Type (Please check ail that apply}:
Damage or destruction to real or personal property oO Fear of Future Injury and/or Medical Monitoring
QO Eamings/Profit Loss Ol Loss of Subsistence use of Natural Resources
CG Personal Injury/Death O Removal and/or clean-up costs
EC Other:

1 this form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No, 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A, No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being
notified electronically by the Clerk af Court of the filing of this Short Form, shall pramptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to fiie a Plaintiff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79349 Filed 04/20/11 Page 2 of 3

a

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims reiating to fishing of any type, include the type and location of fishing grounds at issue.

Damages to residential property located at 22510 Front Beach Road, Panama City, Bay
County, Florida 32413

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2
The filing of this Direct Filing Short Form shell also serve in lieu of the requirement of a Flaintiff to file a Plaintiff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79349 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)}

OO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business invalving fishing, shrimping,
crabbing or oystering.

O 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

BE 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

(J 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee therecf.

D 6. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
O 6. Plant and dock worker, including commercial seafood plant worker, langshoreman, or ferry operates.

m7 Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

E] 8. Hote! owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
OO 2. Bank, financial institution, or retail business that suffered losses as a result of the spill.
{C] 10. Person who utilizes natural resources for subsistence.

OO 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

OF 1. Boat captain or crew involved in the Vessels of Opportunity program.
O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

OO 3. Vessel capiain or crew who was not involved in the Vesse!s of Oppartunity program but who were exposed to harmful chemicals,
odors and emissions during post-expiosion clean-up activities.

[] 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
J 6. Resident who lives or works in close proximity to coastai waters.

0 4. Other:

Both BP and the Gulf Coast Claims Facility ("GCCF”) are hereby authorized te release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
WG” if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

a

Claimant or Attorney Signature

JEFF FRIEDMAN

Print Name

YAA-\

Date

3

The filing of this Direct Filing Short Form shall also serve in liew of the requirement of a Plainiiff to file a Plaintiff Profile Form.
